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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                                 Judge Gordon P. Gallagher

   Date:                 September 23, 2024
   Courtroom Deputy:     Donald L. Clement
   Court Reporter:       Erin Valenti


    Criminal Action No. 1:23-cv-02772-GPG-MDB                 Counsel:

    NOLA MAWHINNEY,                                           Joshua David Franklin via VTC
     As personal representative of Estate of Jay Philip       Phillip Andrew Geigle
     Pritchard,

           Plaintiff,

    v.

    BOARD OF COUNTY COMMISSIONERS OF THE                   Ann Baumgartner Smith
     COUNTY OF PUEBLO, COLORADO,                           Zachary Williams
    DAVID J LUCERO,                                        Jacqueline B. Sharuzi-Brown
     in his official capacity as Sheriff of Pueblo County,
    WELLINGTON DUPLESSIS, in his individual capacity,
    NAPHCARE, INC., an Alabama Corporation,
    STACY VALDEZ, in her individual capacity,
    TAMMY LABORDE, in her capacity [sic],
    ACASHA KERR, in her individual capacity,

           Defendant.



                                      COURTROOM MINUTES


   Motion Hearing

   3:12 p.m.      Court in session.

   Appearances of counsel.

   Court has reviewed the following documents prior to the hearing:

   Court provides more context to the Motion to Continue [D. 62] being denied in Order [D. 63].
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   Court raises [D. 19] Partial Motion to Dismiss, [D. 20] Motion to Dismiss, and [D. 57] Motion to
   Dismiss Party Wellington Duplessis for argument.

   3:19 p.m. Defendant counsel Mr. Williams provides argument in favor of the motion.

   3:30 p.m. Defendant counsel Ms. Sharuzi provides argument in favor of the motion.

   3:34 p.m. Defendant counsel Ms. Smith provides argument in favor of the motion.

   3:40 p.m. Plaintiff counsel Mr. Geigle provides argument against the motions. Plaintiff’s
             Counsel orally motions for leave to amend complaint if claims are dismissed.

   3:56 p.m. Defendant counsel Mr. Williams rebuttal argument.

   3:59 p.m. Defendant counsel Ms. Sharuzi rebuttal argument.

   4:00 p.m. Defendant counsel Ms. Smith rebuttal argument.

   Court provides finding of fact and conclusion of law.

   ORDERED: that the Motion to Dismiss [D. 20] is GRANTED.

   ORDERED: that the Partial Motion to Dismiss [D. 19] is GRANTED in Part and Denied in
            Part. The Motions are granted in part to the following claims that are dismissed
            without prejudice and denied pertaining to the following claims that remain in
            this action:

   The following claims are dismissed without prejudice:

      •   Plaintiff’s Section 1983 claim against Defendant Valdez, to the extent that claim is
          premised on Defendant Valdez’s alleged deliberate indifference to the risk that Mr.
          Pritchard would commit suicide;

      •   Plaintiff’s Section 1983 claim against Defendant Kerr, to the extent that claim is premised
          on Defendant Kerr’s alleged deliberate indifference to the risk that Mr. Pritchard would
          commit suicide;

      •   Plaintiff’s Section 1983 claim against Defendant Laborde, to the extent that claim is
          premised on Defendant Kerr’s alleged deliberate indifference to the risk that Mr. Pritchard
          would commit suicide;

      •   Plaintiff’s Colorado-law claim against Defendant Duplessis, on all theories;

      •   Plaintiff’s Monell claims against Defendants NaphCare, BOCC, and Sheriff Lucero.
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   The Following claims remain in this action:

      •   Plaintiff’s Section 1983 claim against Defendant Valdez, to the extent that claim is
          premised on Defendant Valdez’s alleged deliberate indifference to Mr. Pritchard’s leg
          injury;

      •   Plaintiff’s Section 1983 claim against Defendant Kerr, to the extent that claim is premised
          on Defendant Kerr’s alleged deliberate indifference to Mr. Pritchard’s leg injury;

      •   Plaintiff’s Section 1983 claim against Defendant Laborde, to the extent that claim is
          premised on Defendant Laborde’s alleged deliberate indifference to Mr. Pritchard’s leg
          injury;

      •   Plaintiff’s negligence claims against Defendants NaphCare, Valdez, Kerr, and Laborde.

   ORDERED: that the Motion to Dismiss Party Wellington Duplessis [D. 57] is GRANTED and
            Defendant Duplessis is Dismissed from the case.

   ORDERED: that the Parties are to confer pertaining about an extension of time to file expert
            witness disclosures within ten (10) days and contact Gallagher Chambers with an
            update.

   ORDERED: that Defendants Board of County Commissioners of the County of Pueblo and
            Defendant David J Lucero are Dismissed from the case.

   4:40 p.m.     Court is adjourned. Hearing concluded.

   Total time in court: 1 Hour 28 Minutes
